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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

 BROOK PLAISANCE, ET AL.                                   CIV. ACTION NO. 3:21-CV-00121

 VERSUS                                                         JUDGE BRIAN A. JACKSON

 STATE OF LOUISIANA, ET AL.                        MAG. JUDGE ERIN WILDER-DOOMES


     GOVERNOR JOHN BEL EDWARDS’ MEMORANDUM IN OPPOSITION TO
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


       NOW INTO COURT, through undersigned counsel, comes Defendant, JOHN BEL

EDWARDS, IN HIS OFFICIAL CAPACITY AS GOVERNOR OF THE STATE OF

LOUISIANA, who appears for the limited purpose of opposing Plaintiffs’ motion for preliminary

injunction and without consenting to the jurisdiction of this Court. In support, Defendant Governor

Edwards adopts and incorporates herein the Memoranda in Opposition to Plaintiffs’ Motion for

Preliminary Injunction filed today by the State of Louisiana and the Louisiana Workforce

Commission and Ava Dejoie [Rec Docs 19 and 20].


                                             By Attorneys:

                                                    s/ John C. Walsh
                                             _________________________________________
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                                                    official capacity as Governor of the State of
                                                    Louisiana
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on March 26, 2021, I electronically filed the forgoing with the Clerk

of Court by using the CM/EMF system, which will send a notice of electronic filing to all counsel

of record.


                                    s/ John C. Walsh
                    _____________________________________________
                                   JOHN C. WALSH




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